      Case 2:18-cv-00012-SMJ     ECF No. 130   filed 09/15/20   PageID.4177 Page 1 of 2

                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON



1                                                                   Sep 15, 2020
                                                                        SEAN F. MCAVOY, CLERK

2

3                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
4
     CYNTHIA HARVEY,                           No. 2:18-cv-00012-SMJ
5
                               Plaintiff,
6                                              ORDER DISMISSING CASE
                 v.
7
     CENTENE MANAGEMENT
8    COMPANY, LLC and
     COORDINATED CARE
9    CORPORATION,

10                             Defendants.

11

12         On September 14, 2020, the parties filed a stipulated dismissal, ECF No. 129.

13   Consistent with the parties’ agreement and Federal Rule of Civil Procedure 41(a),

14   IT IS HEREBY ORDERED:

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18   //

19   //

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     ORDER DISMISSING CASE – 1
     Case 2:18-cv-00012-SMJ      ECF No. 130   filed 09/15/20   PageID.4178 Page 2 of 2




1          1.     The parties’ Stipulation of Dismissal With Prejudice, ECF No. 129,

2                 is GRANTED.

3          2.     All claims are DISMISSED WITH PREJUDICE, with all parties to

4                 bear their own costs and attorney fees.

5          3.     All hearings and other deadlines are STRICKEN.

6          4.     The Clerk’s Office is directed to CLOSE this file.

7          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

8    provide copies to all counsel.

9          DATED this 15th day of September 2020.

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                        _________________________
11                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER DISMISSING CASE – 2
